 Case 17-14967-CMG Doc 5-1 Filed 03/17/17 Entered 03/17/17 13:35:24                                 Desc
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(B)

   Scura, Wigfield, Heyer,
   Stevens & Cammarota, LLP
   1599 Hamburg Turnpike
   P.O. Box 2031
   Wayne, New Jersey 07470
   973-696-8391
   Proposed Counsel for Debtor




  In Re:                                                            Case No.:              17-14967
                                                                                    _______________________
   J.Cioffi Leasing & Trucking, Inc.
                                                                    Judge:                   CMG
                                                                                    _______________________

                                                                    Chapter:                  11
                                                                                    _______________________

                     CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                     APPLICATION FOR RETENTION OF PROFESSIONAL

   Christopher J. Balala, Esq.
I, __________________________________, being of full age, certify as follows:

       1.                                                    Counsel for the Debtor
                I am seeking authorization to be retained as ____________________________________.

       2.                                            I am a licensed attorney in the State of New
                My professional credentials include: __________________________________________
       Jersey, and I have considerable experience handling similar Chapter 11 matters and
       ______________________________________________________________________________
       other bankruptcy proceedings of this nature.
       ______________________________________________________________________________

       3.                                                        Scura, Wigfield, Heyer, Stevens &
                I am a member of or associated with the firm of: ________________________________
       Cammarota, LLP - 1599 Hamburg Turnpike, Wayne, NJ 07470
       ______________________________________________________________________________.

       4.       The proposed arrangement for compensation, including hourly rates, if applicable, is as
               $425 per hour; Associates: $350 per hour; and Paralegals: $150 per hr.
       follows_______________________________________________________________________
       ______________________________________________________________________________
       _____________________________________________________________________________.

       ☐ Pursuant to D.N.J. LBR 2014-3, I request a waiver of the requirements of D.N.J. LBR 2016-1.


       5.       To the best of my knowledge, after reasonable and diligent investigation, my connection
       with the debtor(s), creditors, any other party in interest, their respective attorneys and
       accountants, the United States trustee, or any person employed in the office of the United States
       trustee, is as follows:
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            ☐None

           ☐Describe connection:___________________________________________________
            ________________________________________________________________________
            ________________________________________________________________________

    6.      To the best of my knowledge, after reasonable and diligent investigation, the connection
    of my firm, its members, shareholders, partners, associates, officers and/or employees with the
    debtor(s), creditors, any other party in interest, their respective attorneys and accountants, the
    United States trustee, or any person employed in the office of the United States trustee, is as
    follows:
           ☐None

           ☐Describe Connection: __________________________________________________
            ________________________________________________________________________
            ________________________________________________________________________

    7.      To the best of my knowledge, my firm, its members, shareholders, partners, associates,
    officers and/or employees and I (check all that apply):

            ☐do not hold an adverse interest to the estate.

            ☐do not represent an adverse interest to the estate.

            ☐are disinterested under 11 U.S.C. § 101(14).

              ☐do not represent or hold any interest adverse to the debtor or the estate with respect
               to the matter for which I will be retained under 11 U.S.C. § 327(e).

              ☐Other. Explain: ______________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________

    8.         If the professional is an auctioneer,

               The following are my qualifications and experience with the liquidation or sale of
               similar property: ____________________________________________________
               __________________________________________________________________

               __________________________________________________________________

                                                       2
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              b.      The proposed method of calculation of my compensation, including rates and
             formulas, is: ______________________________________________________________

             ________________________________________________________________________

              ________________________________________________________________________

              Pursuant to D.N.J. 2014-2, I ☐ do or ☐ do not request a waiver of the requirements of
              D. N. J. LBR 2016-1.

              c.       The following is an estimate of all costs and expenses, including labor, security,
              advertising, delivery, mailing, and insurance, for which I will seek reimbursement from
              the sale proceeds: ________________________________________________________

              _______________________________________________________________________

              _______________________________________________________________________


              d.       Have you, or a principal of your firm, been convicted of a criminal offense?

                       ☐ No             ☐ Yes (explain below)

              ________________________________________________________________________

              ________________________________________________________________________

              ________________________________________________________________________

              e.       I certify that a surety bond as described in D. N. J. LBR 2014-2(a)(6) is in effect
              and will remain so through the date of turnover of the auction proceeds.

      9.      If the professional is an auctioneer, appraiser or realtor, the location and description of
      the property is as follows: _________________________________________________________

      ______________________________________________________________________________

      ______________________________________________________________________________

      I certify under penalty of perjury that the above information is true.


      03/17/2017
Date: ___________________________                        /s/ Christopher J. Balala
                                                         ________________________________
                                                         Signature of Professional

                                                                                                   rev.8/1/15



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